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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA    :
                            :
           v.               :                       Case No. 21-cr-28 (APM)
                            :
THOMAS EDWARD CALDWELL (1), :
JESSICA MARIE WATKINS (3),  :
KELLY MEGGS (8),            :
KENNETH HARRELSON (10),     :
ROBERTO A. MINUTA (11),     :
JOSHUA A. JAMES (12),       :
JONATHAN WALDEN (13),       :
JOSEPH HACKETT (14),        :
DAVID MOERSCHEL (17),       :
BRIAN ULRICH (18),          :
                            :
                Defendants. :


                         GOVERNMENT’S MOTION TO DISMISS

       The United States respectfully requests that the Court dismiss all charges in the Indictment

in the above-captioned case, against just the above-captioned defendants (Thomas Edward

Caldwell, Jessica Marie Watkins, Kelly Meggs, Kenneth Harrelson, Roberto A. Minuta, Joshua A.

James, Jonathan Walden, Joseph Hackett, David Moerschel, and Brian Ulrich), as each of these

defendants has been charged in a separate but related case for the same conduct (namely, United

States v. Jonathan Walden, No. 22-cr-14-APM, for Defendant Walden, and United States v. Elmer

Stewart Rhodes III, et al., No. 22-cr-15-APM, for the remaining nine defendants listed above).
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       WHEREFORE, the United States respectfully requests that the motion to dismiss be

granted for just those defendants listed in the caption above.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052


                                      By:                /s/
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